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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     :       NO.    21-cr-134-CJN
                                              :
                                              :       VIOLATIONS:
                                              :
       v.                                     :       (18 U.S.C. 1752(a)(1)
                                              :       (Entering or Remaining in Restricted
MARK SAHADY,                                  :       Building or Grounds)
                                              :       18 U.S.C. § 1752(a)(2)
       Defendant.                             :       (Disorderly and Disruptive Conduct in a
                                              :       Restricted Building or Grounds)
                                              :       40 U.S.C. § 5104(e)(2)(D)
                                              :       (Disorderly Conduct in
                                              :       a Capitol Building)



                                        INFORMATION

       The United States Attorney charges:

                                          COUNT ONE

       On or about January 6, 2021, in the District of Columbia, MARK SAHADY, did

unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18, United
States Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, MARK SAHADY, did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area



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within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, MARK SAHADY, willfully and

knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with the

intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House

of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code, Section
5104(e)(2)(D))


                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052


                                      BY:     /s/Brittany Keil
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